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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA



UNITED STATES OF AMERICA,

                   Plaintiff,



v.                                    MEMORANDUM OF LAW & ORDER
                                      Criminal File No. 5-282 (MJD/JJG)

(1) CHRISTOPHER WILLIAM SMITH,

                   Defendant.

James S. Alexander, Assistant United States Attorney, Counsel for Plaintiff.

Christopher William Smith, pro se.

I.    INTRODUCTION

      This matter is before the Court on Defendant Christopher William Smith’s

Pro Se Motion for Correction Pursuant to Rule 36 Federal Rules of Criminal

Procedure. [Docket No. 508]

II.   BACKGROUND

      On November 22, 2006, Defendant Christopher William Smith was found

guilty of controlled substances counts, misbranded drugs counts, conspiracy to

commit money laundering, and continuing criminal enterprise.



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      In a Judgment dated August 6, 2007, the Court sentenced Defendant to 360

months in prison and ordered him to forfeit $24,240,747 with credit for the value

of directly forfeited property. (Judgment [Docket No. 396]; see also Preliminary

Order of Forfeiture [Docket No. 398].) The Judgment stated: “Unless the court

has expressly ordered otherwise, if this judgment imposes imprisonment,

payment of criminal monetary penalties is due during the period of

imprisonment. All criminal monetary penalties, except those payments made

through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program

are to be made to the clerk of court.” (Judgment at 7.)

      Defendant appealed his convictions and sentence to the Eighth Circuit

Court of Appeals. The Eighth Circuit affirmed the convictions and remanded for

resentencing in light of Gall v. United States, 552 U.S. 38 (2007). United States v.

Smith, 573 F.3d 639, 643 (8th Cir. 2009).

      On October 6, 2009, the Court resentenced Defendant to 240 months in

prison. (Amended Judgment [Docket No. 497].) The Amended Judgment again

ordered Defendant to forfeit $24,240,747 with credit for the value of directly

forfeited property and stated: “Unless the court has expressly ordered otherwise

. . . payment of criminal monetary penalties is due during the period of



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imprisonment.” (Id. at 6.) Since Defendant has been incarcerated, the Bureau of

Prisons (“BOP”) has been collecting on the forfeiture money judgment through

the Inmate Financial Responsibility Program (“IFRP”).

       On December 28, 2015, Defendant filed the current Motion for Correction

Pursuant to Rule 36 Federal Rules of Criminal procedure. He is currently

incarcerated at FMC Lexington, in Lexington, Kentucky. [Docket No. 508-3]

III.   DISCUSSION

       A.    The Grounds for Defendant’s Motion

       Defendant asserts that the Amended Judgment is insufficient to provide

direction to the BOP on how to collect criminal monetary penalties from him. He

objects that the Amended Judgment does not order the BOP to force his

participation in the IFRP. Defendant argues that the BOP has acted beyond the

scope of the Amended Judgment by dictating the payment schedule and

amounts. He requests that the Court amend the Amended Judgment to set a

fixed payment amount of $12.50 per month or $50.00 per quarter. Defendant also

requests that the Court order the BOP to rescind the current IFRP agreement. He

requests that the Court not consider his motion to be a § 2255 petition.

       B.    Rule 36



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      Federal Rule of Criminal Procedure 36 provides: “After giving any notice it

considers appropriate, the court may at any time correct a clerical error in a

judgment, order, or other part of the record, or correct an error in the record

arising from oversight or omission.”

      Rule 36 authorizes a court to correct a clerical error in a judgment at
      any time. Rule 36 does not authorize a district court to modify a
      sentence at any time. An authorized correction, pursuant to Rule 36,
      may clarify a sentence, unclear in written form, that is clear when
      the record is examined as a whole.

United States v. Tramp, 30 F.3d 1035, 1037 (8th Cir. 1994) (citations and footnote

omitted).

      Defendant’s Amended Judgment provided that payment of criminal

monetary penalties was due during the period of imprisonment. The lack of a

specified payment schedule during imprisonment was not a clerical error; nor

did it make the sentence unclear. See Matheny v. Morrison, 307 F.3d 709, 712

(8th Cir. 2002) (holding that, when inmates’ payments were due immediately, “it

[wa]s within the BOP’s discretion to place appellants in the IFRP payment

plan”).

      Here, Defendant does not seek to correct a clerical error. Instead,

Defendant seeks to impose a substantive limitation on the manner in which the



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Government can collect on the forfeiture money judgment during the period of

imprisonment. Rule 36 does not apply.

      C.     Direct Challenge to the Amended Judgment

      The Amended Judgment is final, and the time to appeal expired. See Fed.

R. App. P. 4(b). Thus, Defendant’s time to directly challenge the forfeiture

payment provision of his Amended Judgment has passed.

      D.     Section 2255

      Defendant requests that the Court not consider his motion as a habeas

petition under § 2255. In any case, Defendant cannot challenge the forfeiture

payment provision of his Amended Judgment through a petition under 28 U.S.C.

§ 2255 because § 2255 “affords relief only to prisoners claiming right to be

released from custody.” United States v. Chacon-Vega, 262 F. App’x 730, 731

(8th Cir. 2008) (citing United States v. Bernard, 351 F.3d 360, 361 (8th Cir. 2003)).

      E.     Section 2241

      To the extent that Defendant challenges the IFRP payment schedule, he is

challenging the execution of his sentence under 28 U.S.C. § 2241. Matheny, 307

F.3d at 712. Challenges under § 2241 must be brought in the District in which the

petitioner is incarcerated. Chacon-Vega, 262 F. App’x at 731. Defendant is

currently incarcerated in FMC Lexington, located in the Eastern District of

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Kentucky. Thus, this Court does not have jurisdiction to decide Defendant’s §

2241 motion. Id. See also United States v. Townsend, No. Crim. 08-06

(MJD/AJB), 2015 WL 2352821, at *2 (D. Minn. May 15, 2015) (dismissing the

defendant’s challenge to his IFRP as a petition under § 2241 that had to be

brought in the district in which the defendant was then incarcerated).

      Additionally, it does not appear that Defendant has exhausted his

administrative remedies with regard to the BOP’s application of the IFRP. See,

e.g., United States v. Rumney, 86 F.3d 1147 (1st Cir. 1996) (“To the extent that

appellant is complaining about the Bureau of Prisons’ authority to collect the

fine, its method of collection, or his ability to pay it through the Inmate Financial

Responsibility Program (IFRP), appellant must first exhaust administrative

remedies before complaining to a court in the appropriate district.”) (citations

omitted).




      Accordingly, based upon the files, records, and proceedings herein, IT IS

HEREBY ORDERED:




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     Defendant Christopher William Smith’s Motion for Correction
     Pursuant to Rule 36 Federal Rules of Criminal Procedure [Docket
     No. 508] is DENIED.

LET JUDGMENT BE ENTERED ACCORDINGLY.




Dated: May 16, 2016                s/ Michael J. Davis
                                   Michael J. Davis
                                   United States District Court




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